                    NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


 Short Title: In Re: Oral Phenylephrine Marketing and Sales Practices
                                                            _____     Litigation
                                                                            Docket No.:
                                                                                                                                                      24-3296 ________

 Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

 Name: Nilda Maria Isidro

 Firm: Greenberg Traurig LLP

 Address: One Vanderbilt, New York, NY 10017

 Telephone: 212.801.9335
                     ___________________________                                                Fax:

 E-mail: nilda.isidro@gtlaw.com

Appearance for: Defendants-Appellees: Albertsons Companies, Inc.; CVS Pharmacy Inc.; Target Corporation; Rite Aid Corporation; Costco Wholesale Corp.; Walgreen Co.; and Walmart Inc.
                                                                            (party/designation)
Select One:
G Substitute counsel (replacing lead counsel: Mark J. Lesko / LaPinta Lesko
✔                                                                                                                                                                                   )
                                                                            (name/firm)

 G Substitute counsel (replacing other counsel:                                                         _______                                                                    )
                                                                                     (name/firm)

 G Additional counsel (co-counsel with:                                                                                                                                            )
                                                                                     (name/firm)

 G Amicus (in support of:                                                                                                                                                          )
                                                                                     (party/designation)


                                                                             CERTIFICATION
 I certify that:

 ✔
 G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

 my admission on February 10, 2025                                                                                                                                             OR

 G I applied for admission on                                                                                                                                                      .


 Signature of Counsel:

 Type or Print Name: Nilda M. Isidro
